         Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 1 of 12


                                                                                                                               E ,~
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                                                                                                  r~       ~~          ~ .~~
                                  Plaintiff,       *      ~IRCtT~T C~tTRT
                                                                             f   ~ ~4   1 r   y...:t

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                                                                                                       f
                                                                                                           ~ ~,
~.                                                 *      Ft~R

J. W. THCaMPSC)N ~i~EBB, as Persc~n~.l             *      BALTIMQRE RITZ'`
Representative ofthe Estate of THOMAS L.
CL,AN~Y,JR. and Trustee ofthe ~ru~fis              *      Cass No.: 24C170C}4~04
tT~d~r the Last V~i1I and Test~~rnent of
T~I~MAS I~. CLANG,JR., ~t crI

                                  Defendants.



JACK RYAIe1 ENT'ERPRTS~S,LTD a~~.                  *      IN TAE
JACK ~~..YAN L~MI'I'EL~ FAR~`N~R~:~IP
                                                          ~IR~tJIT CtJURT
                       ~ounter•~'laintiffs,
                                                   *      ~'~~
v.
                                                          ~~z°r~~a~ c~°~Y
AI.,EX.~.NDRIA M.CLAN~Y
                                                   *      base Igo.: 24~170~U4404
                       Counter-I)efendar~.t.




                 Cta~.TNTER~LAIM QF~ JACK R~C'AN EN'~Elkti'RI~ES, LTI). ANl~
                          JACK R~''A1~I LIMITED PARTNERSHIP

          Counter-Plaintiffs J~.ck Ryan Enterprises, I.~td.("JREL"~ and Jack Ryan Limited

Partnership ("JRLP'~), collectively the "Jack Ryan Parties," by and through undersigned counsel,

file this ~ount~rclairn against Counter-Def~ndan~ Alexandra M.+~lancy, and state as follows:

                             II~TRUDITCTIQN ANLI ~A~I~GR~UNLI FACTS

          1,        Counter-Piai~atiff3RE~ zs a Maryland Corparation.

          2,        counter-Plaintiff JR.LP is a Maryland Limited Partnership.



                                                                                                                      EXHIBIT
                                                                                                           :~
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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 2 of 12




        3.      Counter-D~f~ndant Alexandre M. Clancy("Ms, ~~ancy"~ is the plaintiff in this

action, end a surviving spouse of the author Thomas L. Clancy, Jr.("Mr. Clancy") who died in

October, ~Q13.

       4,       IVIs. Nancy has brought this action against J.W.`Thompson Webb,as Fersor~al

Representative ofthe Estate of T~~mas L. Clancy, Jr. the "Estate"} and as Trustee ofthe Trusts

established under his W~11, the Jack Ryan. Parties, and Rubicon, Inc.(an asset ofthe Estate}, in

which she "seeks to determine the ownership's of Jack Ryan and other characters appearing in

books written by l~r, Clancy.

       5.       This action arUse because subsequent tc~ Mr. ~lanc~'s death, the Estate, the Jack

Ryan Entifiies and Rubicon have entered info contracts for the publication of"Tom Clancy"

books written by others which m~.ke use cif the characters as introduced aid developed ~n books

written by Mr. Nancy,the registered I..Tnited States CQp~ri~hts to which are held either by one of

the Jack Ryan Entities ar Rubicon.

        ~.      M~. Clancy asserts that at the time of his death, Mr. Chancy ~w~ed the rights to

Jack Ryan and other ch~.racters appearing in books ~rri~ten by Mr. Clancy prior to his death, and

therefore the net proceeds of books w~tt~n by others after Mr. Clancy's death which utilize those

characters belong exclusively to the Estate.

       '7~      Contrary to Ms. C~anc~'s contention, the Jack Ryan Entities have rights in Jack

Ryan and. other characters either pursuant to agreements enfier+ed into by Mr. Clancy and/or under

the federal Copyright Act.

        8,      Ms. Clancy has structured her complaint so as to ignore the rights obtained by the

Jack Ryan Entities in Jacl~ Ryan and other characters under the federal Copyright Act.




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        Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 3 of 12




        ~.       JRE~G at the time cif its creation, end until Mr. Clancy's death, was an ~ntzty

owned 4~% by Mr. Clancy; 40°/a by Watlda I~i~g (``Mse King"), l~Ir. Glancy's first wife; and 5%

by each ofthe four children of their marriage. At the time of his death, IVIr. Clancy's 4(l°fo

interest in JREL became an asset of his estar~.

        14,      TRLF, at the tzme of its creation, and until Mr. Glancy's death, was an entity

owned SO% by Mr. Chancy and ~0% by Ms. King..A.t the time afhis death, Mr. Clancy's 5Q%

interest ~n JRLP became an asset ofhrs estate.

        1 1.     Mr. Clancy wrote numerous books ~'or JP.EL as works for hire, including Patriot

CTames, Thy Cardinal ofthe Kremlin, Clear and Present Dar~~er and the Sum of All Fears all of

e~vhich include development ofthe Sack Ryan character and other characters. JREL was from the

outset and continues to awn the registered tTnited States copyrights for those books(the "JREL

Copyrighted Books").

        12.      J~2.EL also owns the registered United States copyright for The Hunt for Red

October("Hunt")in which Jack Ryan first app~a~s.

        13.      Mr. Clancy warote numerous books for JRLP as works for hire, including Without

Remorse, Debt of Honor, Ex~cutiv~ C?rders and R~.inbow ~, ail of which include development of

the Jack Ryan character and other characters. JRLP was from the outset and continues to hold the

registered United States copyright for those b+aoks {the "JRLP Capyrig~ified Books").

        14.      JREL and JRL~ are the authors ofthe JREL Copyrighted Books and the JRLP

Copyrighted Books,respectively, under the United States Copyright Act.

         15.      JREL and JR.~P are also each a co-author and co-owner of'the registered United

States Copyright in each cif the Tazn Clancy books written after Tom Clancy's death as works




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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 4 of 12




for hire including Support and Defend, Full Force and effect, Commander in Chief,`True Fa~~h

and Allegiance, Under Fire, duty and Honor, Point of Go~tact and Power and Empire.

               THE C~DNTRt)VE~TES RE T,:3IF~l[NG I)~CLARAT()R,~`~~ELIEF

        1~.       There is an actual contrav~rsy between the plaintiff and the Jack R~a~n entities as

to rights in Jack Ryan and other ~ha~racters based Qn agreements entered ~nta prior to Mr.

Clancy's death. The dispute pan be resolved through the entry of declaratory relief

        17.       There is an actual ~ontrc~v~~sy between the plaintiff and the Jack Ryan Entities as

tca whether the Jack Ryan entities have rights in Jack ~2~an ar~cl other characters under the federal

Copy~.~ht Act by virtue of owning the registered United States copyrights in books ~vhe~re those

characters were introduced ~nd.for developed. T`he dispute can ~e resolved through tie entry of

t~eclaxator~ relief.

        18.       Ms,~~ancy, acting on behalf of herself and her minor daughter, has ~u~ported tQ

provide a Notice of Termination o~ Transfer off'Cop~r%ght extending to "alb rights under

copyright tQ the characters described in" Hunt v~ith the termination having an effective date ire

C?ctober, 2019.

         l9.      JREL contends the attempted termination of its rights as tie holder ofthe

registered United States copy~.ght for Hunt is overbroad and ineffective, including ~o the extent

it purports to extend to "a11 rights under copyright to the characters" in Lunt,

        2Q.       Them is ari actual controversy between It s, Clancy and JR~L as to whether the

termination notice will result in the termination ofthe rights in the characters depicted in Hunt

effective zn tJctober, ~~19. The dispute can be resolved fihrou.gh the entry of declaratory relief.

        21.       There is an actual controversy between Ms. Glancy and the Jack Ryan Entities as

to whether the Jack Ryan Entities have sights in Jack Ryan and other characters as created and




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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 5 of 12




depicted in Hint or the JRE~ ~op~ri~,hted Books and the JIZLP Copyrighted Baoks which will

be resolved by the declaratory judgments sought h~re7n.

                                FELIERAL +C()~JRT JITRISDICTit~}N

       22.      The federal court has original subject matter jurisdiction aver the clams asserted

under the federal Copyright Act asserted in founts II and III pursuant to 28 U.S.C. § 1338(a}.

       23.      The federal court has supplemental jurisdiction over Count I whzch asserts matters

which are so related to the claims over which the court has original jurisdiction that they form

part ofthe same case ar controversy. ~~ U.S.C. ~ 13b'7.

                                             C~.IUI'~1`T I

  De~clara~o Relief As Tc~ C?wnershi B the Jack R an Entities of R.i hts I~ Ja~1~ R an
   And father ~`harac~ers B Reason of the A regiments Entered Into B M~. Clanc

       24.      The Jack Ryan Parties incorporate the allegations in paragraphs 1 —1~ and 21 - 23

a~~ though fully set forth herein.

        25.     In making her assertion in the complaint that Mr, Clancy c~wn~d the rights to Jack

Ryan and other characters in books written by him, Ms. Clancy relies on an interpretation of

certain agreements, including documents relating tQ transactions with the United States Naval

Institute("USNI")involving Hunt a.r~d characters created therein, and the Agreement between

Mr. Clancy and Ms. King resolving issues arising out of their divorce.

        26,     In fact, the agr~en~ents relied on by Ms. Clancy, properly interpreted, result in die

opposite conclusion, i.e., that the Jack Ryan Entities have rights ~n Jack Ryan and other

characters, as recognized by Mr. Clancy himself, as well as by 1~Ir. Clancy's intellectual property

Iavv~ers.




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        Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 6 of 12




        2'7.    By Agreement dated Navembe~ ~1, 1983, Mr, Ctancy ent~r~c~ into an agreement

{thy "USNI Agree~a~ent"} with the USNI with respect to an unpublished book titled provisionally

~s T'he Hunt for Red C~}ctabere

        28.     In the USNT A~reem.ent, Mr. Clancy transferred. to the L.T~NI the exclusive

worldwide copyright in Hunts

        ~9.     The USNI obtained the registered United States copyright for Hunt.

        3Q,     In the tTSNI A.greeme~t, I~Ir. ~~~n~cy agreed wit~i the t1SNI that he would not

v~ithout written pe~rmiss~can foram USNI "~uhlis~ or permit to be published any material based on,

or derived from., or directly ~ompetiti~e with this Work [i.e., Hunt],so 1Qng as this [the USNI]

Agreement shall remain in fQrc~."

        31.     The LTSNI obtained rights in the character ,hack Ryan as well as other characters

that appeared in Hunt as a result of holding tie registered United Mates copyright in Hint and/or

the USNI Agreement.

        32.     In 1988,in resolution of a disp~`~e between Mr. Clancy and the tISNI(the "USNI

Settlement"), Mr. Clancy bought back from ~.TSNI for an agreed upon payment of$12S,~Oa the

copyright in Hunt,together with "all rights ~n end to the" book.(exclusive of book publishing

rights} and specifically including alt rights ~n and to the characters,

        33.     Pu~rsu~t to the USNI Settlement, l~Ir. Clancy directed the I.,TSNI to assign on his

behalf to JREL the rights Mr. Clancy received back from the U~NI. JREL became obligated to

and ~n fact made the payments tQ the USNI fc~r such rights.

        34.      tJn 1`3ovember 30, 1988, the USNI, as Assignor, entered rota a formal Transfer of
                                                                              worldwide
 Ownership C)f Copyright and Ass~gnmen~ transmitting to JREL "[t]he exclusive




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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 7 of 12




rights of every ki~ad and nat~.re(naw car ~.~rea~ter known)" and the registered United Stites

copyright Yn ~-Iunt, with the exception of certain d~fin~c~ book ~u'~Iishing rights.

        35,      JR~L obtained from 1VIr, Taney via USNI rights in the characters as depicted in

Hunt, including, without limit~.tion, Jack Ryan.

        3~.      From and after the I~Io~rember 3Q, 1988 assignment,fir. Clang treated JREL as

the Qwn~r ofthe exclus~~ve worldwide copyright ~.nd al1 rights in H~z~t, inc~udin~ rights in the

character Jack ~.yan —except for certain de~i~ed ``book publishing rights".

        3'7.     From aid a~t~r the No~`~mb~r 30~ 1988 assignment, JREL dad aid ~antinu~s to

have ~g~fis in the character Sack Ryan and any other characters as they were introduced a~ad

developed in Hunt.

        38.      ~Jm Dec~~nber 28~ 1998,in ~~nnection c~ith ~h~ir separation ~d divorce, Mr.

~~ancy and NIs. King entered into an ~-1.greement resolving all issues between them the "~lanc~

Settlement's}.

        39,      The Clancy ~~ttleme~t addressed the rights of Mr. Clancy and GIs. King in the

properties owed by JREL and JRLP.

        40.      ~'he C1an~y Settlement provi~.ed that any cQntr~cts other than these making

incidental use (such as flashba,~ks) b~~wee~ Mr. C1.ancy or an a~'iliated entity inv~ivzng the story

lines {including the characters) owned by JREL or JRLP mould be ass~gne~ to JREL ar JRI.,P,

thereby recognizing the rights ofthe Jack Ryan Entities ~n both the stark tines and the characters

~fthe books ~n which they held the registered ZTnrted States cQpYrighta

        41.      The Clancy Settlement(in the same paragraph) provided Mr. ~1an~y with the

limitet~ right to use the char~.cters ~n whzch ~REL ar JRLP had rights in any sequel that he may

create while alive, providing he ~`shail be free to use the cha~ra~ters in the works awned ~y JRLP



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         Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 8 of 12




or JREL in any sequel to any of those wanks 4r in any other future vv~ork that [~lancy] may

create..."

         42.    The Clancy Settlement pravide~i fihat the Jack Ryan Entities had rights in tie

characters as depicted and develap~d in the books to ~vh~eh they owned the registered United

States copyright, anc~ provided 1VIr. Clancy with the right to use those characters in sequels while

alive.

         43.    A declaration should be entered fihat the Jack Ryan Entities have rights ~n the

characters a.s introduced andiar further dev~lQped in the books to ~rhich they hold the registered

Unzted Stakes copyright.

         44,    A declaration should be entered that as a result of rights rn the characters, the Jack

Ryan Entitr~s properly share in the net ~rocee~.s from fiom Clancy making use ~f ~he~se

characters in a rnanz~er which includes haw they were depicted in books in cavhich the Jack Ryan

Entities have an interest by virtue c~fhaving the registered United States copyright.

                                            ~~
    eciaration R~~ief As To The Ri h#s of The Jack R an Entities Tn Jack R an and Qther
                         ~haractea~s Under Federal Capvri~ht Law)

         45.     The hack Ryan Entities incorporate the allegations in paragraphs 1 —1S, 17 and 21

  23 ~,s though fully set forth herein.

         4f~.    The Copyright Act provides that in fihe cage of a work made far hire, the "person

for whom the work was prepared is considered the author for purposes of this tine, and, unless

the parties have expressly agreed otherwise in a written instru~m~nt signed by them, ovcros all of

the rights comprised in the copyright." Copyright Act, 17 U.S.C. ~ 201(b).

         47,     As a matter of federal copyright law, JREL obtained rights in the characters

introduced in the Hunt for Red October or the JREL Copyrighted Books.


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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 9 of 12




       48.      As ~ matter offederal copyright la~v, JF~LP obtainet~ rights in the characters

introduced i~. the JRLP Copyrighted Books.

       49.      As a matter offederal copyright law, the Jack Ryan Entzti~s c~~tained rights in

Jack Ryan and other characters to the extent they wire ~i xrther developed sufficiently to satisfy

the minimum copyright requirement of originality in the JREL Copyrighted ~3ooks or the JFZLP

Copyrighted Books of which 3REL and JRLF,r~spectivel~, are the author and holder ofthe

registered United States Copyright,

       50.      The Jack Ryan Entities also abtaine~ rights in Jack Ryan and other characters to

the extent they were further developed sufficiently to satisfy the minimum copyright requirement

~f originality in books in which the Jack Ryan Entries are cca-o~vn~rs ofthe registered United

States copyright written subsequent to 1VIr. Glancy's death in which the Jack Ryan Entities have a

copyright interest.

       51,      The rights in the characters owned by t~.e Jack Ryan ~ntiti~s as a result of their

being the author and holder ofthe registered United States copyrights for the JRIEL Works for

Hire and the JR.LF Works for Hire are independent ofthose rights Ms. Clancy asserts(but which

the Jack Ryan Entities deny)the Estate omens under the terms of existing contracts.

        52,      A declaxati~n should be entered that the Jack Ryan Entities have rights in the

characters as they v~vere introduced andfor developed in books for which each holds the registered

United States copyright.

        S3.      A declaration should be entered that as a result of rights in the c~iaracterss the Jack

Ryan Entities properly shire in the net proceeds from. Tom Clancy books making use ofthose

characters in a mannner which includes how they were depicted in boos for vvhic~ the Jack Ryan

Entities hold the registered united States copyright.



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        Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 10 of 12




                                               CtITN`I'III

      Declarato         Relief As T~► The Ineffectiveness of 7Che Ahem ted Termination of the
                                  Copyright In Hunt For Red t~ctob~r)

         54.        The Jack Ry~nn entities in~orporat~d the ~.1legations in paragraphs 1 —16, and 18

21 as though fully set fo~h herein.

         5~.       ~.~n~ike the other books for which ~R~E~, ar~d 3R~,P ~ol~ ire ~~g~s~er~d ~.T~it~d

States copyright, Hunt vvas not ~r~ated as a v~t~rk for hire,

         56.        The ~apy~ight Act permits the terminafiion of a copyright transfer far a work

(other than a work made for hire) by an author or, if deceased, day the heirs of an aut~aar entitled

to mare than one-half of an author's termination rights. 17 U.Q.C. § ~43~a}.

          5~7.     By statute, as the widow of NIr. ~lan~y, Ms. Clancy has a S4% interest in Mr.

~lancy's termination rights.

          58.      By statute, Ms. Clancy and Mr. Clancy's minor daughter has a 1Q% interest in

Mr. Clan~~'s termination rights in Hunt ley virtue of be~n~ Qne of five surviving children of Mr.

Clancy.

          59.       The termination right may oily be exercised i~. a defined statutory period.

          6Q.       By a purported Notice of Termination of Transfer of Copyright for the Work

Entitled "T'HE ~[L.TI~T FUR REIN (a~TOBER" dated Mare 4, 2Q1b (the `Termination Notice"),

Ms. Clancys on behalf of herself and as natural guardian far her minor Childs sought to terminate

(effective as of Qctober 9, 2019) the tramsfer of the right to obtain a federal copyright for Hunt to

the USNI.

          61.       Ms. Clancy' ~ T~rminatzon Nonce asserts that it extends to "alI rights under

copyright to the characters described in" Hunt.




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       Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 11 of 12




          fib.    By virtue ofthe ~~NI ~ettlem~nt in 198$,the USNI no longer hart any interest in

the registered United States copyright for Hunt or characters depicted therein. Rather, Mx.

Clancy reacquired those rights and dixected the USNI to transfer those rights to JREL on his

b~haif.

          63.     A declaration should be enured that the Termination Nofiice is overbroad and

ineffective at lest tQ the extent it seeks to affect the "copyright to the characters described in

"Hunt."

          WHEREFORE,the Sack Ryan entities request that the Court enter Declaratory Relief as

.requested at the enc~ of each count hereinz and grant such other and further r~1i~f as the cause
                                                             .~-
 may require.                                        ~-,
                                                  ~'

                                                     a1d .~.. hrape
                                                  Gordan Feinblatt I.,I~C
                                                  233 East Re~wc~o~ Street
                                                  Baltirr~ore, Maryland 21202
                                                 (4l 0)~76~4295
                                                 (41 Q)576-4269 Fax
                                                 ~ttc~~~eys,fog Counter-Plaintiffs
                                                  Jack l~yr~n enterprises, ~7'D and
                                                  Jaek ,~yr~n Limited Pat-tns~shrp


                              CERTi~+ICAT~ t1F SERVICE
                                                   ~
                                                   ~
                  I HEREBY CERTIFY that on this ~~   day of November,2017, a copy of the

farego~ng Counterclaim ofI?efendants Jack Ryan Enterprises, Ltd. and lack Ryan Limited

Partnership was e-mazled and mailed, first-class, post~.ge prepaid, to the following:

                                     Norman L. Smith, Esq.
                                     Jeffrey E. Nusinov, Esq.
                                     Paul D,Raschke, Esq.
                                     Nusinav Smith LT~P
                                     6225 S~m~th Avenue, Suite ~0~~
                                     Baltimore, Maryland 2129

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 5721670.4 52092{134903 11/1312017
      Case 1:17-cv-03371-ELH Document 9 Filed 11/13/17 Page 12 of 12




                                   Lansing R.. Palmer, ~st~.
                                   Erin M.Maddacks, Esq.
                                   Amanda Klapp, ~sq.
                                   Al~erman LLP
                                   ~fb Fifth Avenue, 20~'~ Fl€~or
                                   New Yc~rl~, N~' I0I Q~
                                   ~ttor~ceys,~ar ~'lai~tti~ffaMd ~'~unter~-Defendant Alexandra M.
                                   ~'lancy

                                   Robert S. Brennen, Esq,
                                   Miles ~ Stockbrid~~ P.~.
                                   1fl(} Light street
                                   Balt mars, Maryland 212Q2
                                   .~tto~neys~ar tie Pe~°so~al R~presentative,fo~ ~~ie .~.~tate of
                                    7`hamas L. Clane~, Jr~ and Rubicon, Ine.

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